            Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 1 of 20 Page ID #:1
. ~                                                                                 FILcD
              JORGE MENDOZA
              15540 VANOWEN ST #113
              VAN NUYS CA 91406
  }           in pro per ~                                                ZO t 9 SOY 13 PM (~ 0 i
                                                                             . , ~. :~ ~,1 ~ ~ ;
                                                                          _ ..                   ~. i
  ~1                                                                         `~ i             it         .~
                                                                                     t•~ ~Y   .., r, v

  s                                    UNITED STATES DISTRICT COURT,._
                                     CENTRAL DISTRICT OF CALIFORNIA




                                                          Case No.


  t ~)
                                                         ~ v~9-a974~~~~0-
                                                         (1)   DEPRIVATION OF RIGHTS
                  JORGE MENDOZA,                          UNDER 42 U.S.C.§ 1983;
  it
                                                         (2)   VIOLATION OF XIV
  1?                           Plaintiff,                 AMENDMENT OF THE
                        vs.                               CONSTITUTION
  3                                                      (3)   UNFAIR BUSINESS
                 UBER TECHNOLOGIES INC,                  PRACTICES
  i                        Defendant
                                                         [JURY TRIAL DEMANDE                                  ^
  1~

  1 #"~
                                                                                                               ,- 2019
  ~~
                                                                                                   Lle~'K, U~ Districf Co
  1                                                                                                     CO URT 4612
                   Comes Now Plaintiff JORGE MENDOZA,who hereby brings a                      O



             against UBER TECHNOLOGIES INC, This complaint is based on the following
 ?t~~ ',

 ~C          arguments, all exhibits attached hereto if there is one, and any other evidence wish
 ~~
             this Court may wish to consider in the Discovery process.
 ~fi
 .,,         PARTIES

 ~~              1. Plaintiff is an individual California resident former Driver of Uber
      r,,
            # Technologies for 4 years (11/2014-12/2018)

                2. Defendant Uber Technologies Inc is a California Corporation located on


                                            FEDERAL COMPLAINT
                                                                                                                  1
             Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 2 of 20 Page ID #:2
.       ~

              1455 MARKET ST 4TH FL SAN FRANCISCO CA 94103 with CT Corporation

              System as Agent of process located on 818 SEVENTH STREET STE 930, LOS

    `~ `' ANGELES,CA 90017, acting also as a state actor.

              JURISDICTION AND VENUE

              3. The Court has subject matter jurisdiction over the action pursuant to XIV

              Amendment of the Constitution of the United States Of America for violations of

              the Due Process protected by the highest statute of law in America.
        t~
    1~        4. Pursuant to supplemental jurisdiction, and attendant and related cause of action,
    1?
              arising from the same nucleus of operative facts and arising out of the same
    ~~
              transaction, is also brought under California Law
    1

    ~~        5. Venue is proper in this court pursuant to 28 USC Section 1391(b) and is founded
        ~7
              on the fact that the substantial part of the events or omissions giving rise to the
    t'7
    ~~        claim occurred in this district.

    ~~        FACTUAL ALLEGATIONS
    ~t~
              6. Plaintiff worked for 4 years as Uber Taxi Driver for Defendant.

    ~~        7. Plaintiff had always best conduct ever and as a result of that he had maintained

              the highest rating and obtained very good reputation with Defendant UBER

              Technologies Inc.

    >~,      8. On December 8, 2018 Defendant Uber Technologies inc informs Plaintiff that a
    ,- `
             rider claimed Plaintiff was intoxicated and proceed to suspend Plaintiff.



                                            FEDERAL COMPLAINT
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              Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 3 of 20 Page ID #:3
.       ~

               9. Around that time Plaintiff told Defendant Uber that he can prove that the claim
     -~
               was 100% false and to prove that asseveration would submit alcohol test to

               Defendant's office. Plaintiff also asked Uber if the rider felt that way why he/she

               did not stop the ride and ask to get out and ca11911.
     c
     r         10. Defendant Uber Technologies Inc never accepted the evidence against the false

               claim, they did proceed to deactivate the account of Plaintiff without any further

               investigation. This caused Plaintiff damages, stress and innumerable problems that
     1 t1

     11        will be exposed in the Discovery process.
     1

     ~~
               I.   FIRST CAUSE OF ACTION :VIOLATION OF THE XIV
    l

     1 ~5           AMENDMENT OF THE AMERICAN CONSTITUTION(DUE
    ~t
                    PROCESS)(On behalf of Plaintiff and against all defendants)
    l ~'

         ~s

    1 ~l
                            All persons born or naturalized in the United States and subject to the
    ~(~
                           jurisdiction thereof, are citizens of the United States and ofthe State wherein

                            they reside. No State shall make or enforce any law which shall abridge the
         ~?
                           privileges or immunities of citizens of the United States; nor shall any State
    ~~
                           deprive anv person oflife, Tiber , or propertu without due process oflaw;

    ~-                     nor deny to any person within its jurisdiction the equal protection ofthe laws.
    ~r ~

    ~.~5

    ,̀.~      11. Plaintiff re-pleads and incorporates by reference, as if fully set forth again

    _1.

                                                  FEDERAL COMPLAINT
                                                                                                             3
             Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 4 of 20 Page ID #:4


              herein, the allegations contained in all prior paragraphs of this complaint.

              12. Under the XIV amendment of the Constitution "No person ... nor be deprived of '"

              life, liberty, or property, without due process of law.."

              13. However Defendant deprived Plaintiff of this only property which was his
l~3



              contract with defendant, without any further investigation or minimum reasonable

              compulsory process. As we know a fundamental shift in the concept ofproperty

              occurred with recognition of society's growing economic reliance on government
1 ~:3 '

11            benefits, employment, and contracts.
1?
              14. They terminated the agreement and deactivated the account leaving Plaintiff out
13
              ofthe Uber system without hearing or at least reviewing the evidence Plaintiff had. "
I ~ 'I~
    i
~        ,    15."Procedural Due Process.- SECTION 1. All persons born or naturalized in the
]~~ i
              United States, and subject to the jurisdiction thereof, are citizens of the United
17
              States and the State wherein they reside. No State shall make or enforce any law

1 ~3          which shall abridge the privileges or immunities of citizens of the United States;
2~~
         i    nor shall any State deprive any person of life, liberty, or property, without due

    ~,        process oflaw; nor deny to any person within its jurisdiction the equal protection of

}~ I          the laws."
~~. ~ ~
              15.1. Due process requires that the procedures by which laws are applied must be

_r~           evenhanded, so that individuals are not subjected to the arbitrary exercise of

         ~ ~ government power.
_~

                                           FEDERAL COMPLAINT
                                                                                                   4
            Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 5 of 20 Page ID #:5


              15.2. Exactly whatprocedures are needed to satin , due process, however, will

              vary depending on the circumstances and subject matter involved. A basic

             threshold issue respecting whether due process is satisfied is whether the

             government conduct being examined is a part of a criminal or civil proceeding.
 r
              15.3. The appropriate framework for assessing procedural rules in the field of

             criminal law is determining whether the procedure is offensive to the concept of

             fundamental fairness.
     r~

 11          15.4. In civil contexts, however, a balancing test is used that evaluates the
 1?
             government's chosen procedure with respect to the private interest affected, the risk

             of erroneous deprivation of that interest under the chosen procedure, and the

 1           government interest at stake.
 1 #`i '
             15.5. Non-Judicial Proceedings.—A court proceeding is not a requisite of due
 ~~
             process. Administrative and executive proceedings are notjudicial, yet they may

 i ~~        satisfy the Due Process Clause.
~,-~
             15.6 The Requirements ofDue Process.—Although due process tolerates
~C
,,           variances in procedure "appropriate to the nature of the case," it is nonetheless

             possible to identify its core goals and requirements. First, "Procedural due process
::-
..,, ; rules are meant to protect persons not from the deprivation, but from the mistaken

~~~:         or unjustified deprivation of life, liberty, or property." Thus, the required elements

           ~' of due process are those that "minimize substantively unfair or mistaken



                                           FEDERAL COMPLAINT
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 1
          deprivations" by enabling persons to contest the basis upon which a state proposes

:~        to deprive them of protected interests.

,~
          15.7 The core ofthese requirements is :(1) notice and a(2) hearing before an (3)

          impartial tribunal. Due process may also require an(4)o~nortunity for
)
~


        1 confrontation and (5) cross-examination, and for(6)discovery; that a decision be

          made based on the record, and that a party be allowed to be represented by counsel.

         (1) Notice.
 i ~~
l9        Mullane v. Central Hanover Bank 8 Trust Co.. 339 U.S. 306. 314(1950). See also Richards v.

 1        Jefferson County. 517 U.S. 793(1996

1

1 =1     "An elementary and fundamental requirement of due process in any proceeding

         which is to be accorded finality is notice reasonably calculated, under all the

~~       circumstances, to apprise interested parties of the pendency of the action and afford

         them an opportunity to present their objections." This may include an obligation,
t ~~
         upon learning that an attempt at notice has failed, to take "reasonable followup
? _~

~~       measures" that may be available.

        (1.2) In addition, the notice must be sufficient to enable the recipient to determine
'
~
         what is being proposed and what he must do to prevent the deprivation of his

         interest. Goldberg v. Kelly. 397 U.S. 254, 267-68 j1970~

~,~,
        (1.3) Ordinarily, service ofthe notice(Armstrong v. Manzo, 380 U.S. 545. 550(1965,

         Robinson v. Hanrahan. 409 U.S. 38(1974): Greene v. Lindsey. 456 U.S. 444(1982,U
~ ~


                                         FEDERAL COMPLAINT
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            must be reasonably structured to assure that the person to whom it is directed

            receives it. Such notice, however, need not describe the legal procedures necessary

 ;~
            to protect one's interest if such procedures are otherwise set out in published,

            generally available public sources.
 r

           (2)Hearing.

            Mathews v. E/drid~e. 424 U.S. 319. 333(1976). "Parties whose rights are to be affected are
 c~
            entitled to be heard."Baldwin v. Hale. 68 U.S.(1 Wall.) 223. 233(1863.
 1 {3
           "Some form of hearing is required before an individual is finally deprived of a

            property [or liberty] interest." This right is a "basic aspect of the duty of

     1      government to follow a fair process of decision making when it acts to deprive a
 1 ~i
            person of his possessions. The purpose of this requirement is not only to ensure
     5
            abstract fair play to the individual. Its purpose, more particularly, is to protect his

 1'7        use and possession of property from arbitrary encroachment ...." Thus, the notice
 1Y
          ~ of hearing and the opportunity to be heard "must be granted at a meaningful time
     i>

~~          and in a meaningful manner."

          ~' (3)Impartial Tribunal.

            Goldberg v. Kelly, 397 U.S. 254. 271(1970
?~
            Just as in criminal and quasi-criminal cases, an impartial decision maker is an
.:.-~
 ~;         essential right in civil proceedings as well."The neutrality requirement helps to
     r,
            guarantee that life, liberty, or property will not be taken on the basis of an erroneous

-,          or distorted conception of the facts or the law.... At the same time, it preserves


                                            FEDERAL COMPLAINT
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            Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 8 of 20 Page ID #:8

 l
             both the appearance and reality offairness ... by ensuring that no person will be

        r    deprived of his interests in the absence of a proceeding in which he may present his

 ~~ ,~ case with assurance that the arbiter is not predisposed to find against him."

             (4) Confrontation and CrossExamination.
r

             Goldberg v. Kelly. 397 U.S. 254. 269(1970). See also ICC v. Louisville 8 Nashville R.R.. 227

             U.S. 88. 9 94(1913). Cf.§ 7(c) of the Administrative Procedure Act. 5 U.S.C.§ 556 .

t~           "In almost every setting where important decisions turn on questions of fact, due
 1 ~)
             process requires an opportunity to confront and cross-examine adverse witnesses."
 if
             Where the "evidence consists of the testimony of individuals whose memory might
 ~ ~:

             be faulty or who, in fact, might be perjurers or persons motivated by malice,
1~
             vindictiveness, intolerance, prejudice, or jealousy," the individual's right to show

~ ~7         that it is untrue depends on the rights of confrontation and cross-examination. "This

             Court has been zealous to protect these rights from erosion. It has spoken out not
i
             only in criminal cases,...but also in all types of cases where administrative .. .
~ ~~
~, 9         actions were under scrutiny."

            (5)Discoveru
,,
~~           Greene v. McElroy, 360 U.S. 474. 496(7959), quoted with aeAroval in Goldberg v. Kelly. 397
?~
             U.S. 254. 270(1970
uz
             The Court has never directly confronted this issue, but in one case it did observe in

_'~~         dictum that "where governmental action seriously injures an individual, and the

             reasonableness of the action depends on fact findings, the evidence used to prove
,,; ~
                                             FEDERAL COMPLAINT
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                  Case 2:19-cv-09741-FMO-JPR Document 1 Filed 11/13/19 Page 9 of 20 Page ID #:9

  3
                   the Government's case must be disclosed to the individual so that he has an

..                 opportunity to show that it is untrue."

 `~~ _ , Some federal agencies have adopted discovery rules modeled on the Federal Rules

                   of Civil Procedure, and the Administrative Conference has recommended that all
 r

                   do so. There appear to be no cases, however, holding they must, and there is some

                   authority that they cannot absent congressional authorization.
 t~
                   (6)Decision on the Record.
 ~ ~~
 Il
                   The exclusiveness of the record is fundamental in administrative law. See § 7(~ of the
              2
                   Administrative Procedure Act,5 U.S.C.§ 556(e~. However, one must show not only that the

              1    agency used ex parte evidence but that he was prejudiced thereby. Market Street R.R. v.
 ~~

                   Railroad Comm'n. 324 U.S. 548(1945uapency decision supported by evidence in record, its
 1
                   decision sustained, disregarding ex pane evidence).
 1(i

 ;~                Goldberg v. Kelly. 397 U.S. 254, 271 (1970~(citations omitted

 I ~+
                   Although this issue arises principally in the administrative law area, it applies
I t) ~ '
.,{~               generally."The decision maker's conclusion ...must rest solely on the legal rules

      C            and evidence adduced at the hearing. To demonstrate compliance with this
          i
~~
 ~~                elementary requirement, the decisionmaker should state the reasons for his
     _j


v~                 determination and indicate the evidence he relied on, though his statement need not
~, ~ ;
-      amount to a full opinion or even formal findings of fact and conclusions of law."
~. f~
                   16. Why Defendant needs to respect the Due Process ofLaw protected by the
          i
~~;~ t Constitution ofthe United States?

                                                   FEDERAL COMPLAINT
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     1
             A)Defendant is not immune to the application of the Constitution, specifically to

.~ E            due process.

.~
             B)They are not immune to the application to the Constitution because they are
 h



                state regulated organization for public safety.

             C)Also they are under Judicial Intervention in regards to a Public Safety .

             D)Public Safety is a public policy to protect passengers from danger.
 ~~
             E)In the case of Transportation Network Company(TNC)as Uber, Lyft, etc they i
 ~ +:~
 D1             are strictly regulated by the state delegating on them the power ofpunishing
 1
                drivers that are Driving Under The Influence, becoming in this respect

                state agency to public safety.
 ~ =~

             F)They exercise their power by making policing decisions enforcing public

                safety rules, and punishing drivers that drive under the influence of drugs or
 ~?
 1              alcohol.

 1 ~)        G)That procedure is called Zero Tolerance and is a state regul      process that
~'+.~ j
,~              delegates on TNC companies power to enforce rules and protect public.
      }
p~,~
             H)The State Decision 13-09-045 Rulemaking 12-12-011 enacted a legal

                procedure for that.(see pointl6)
~,
             I) The issue is that Defendant did not follow the legal procedure and did not
.,
,r              respect due process.

             J) Defendant applied a sanction on Plaintiff acting under the color of the law,



                                       FEDERAL COMPLAINT
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                    because they wanted to exercise their delegated power from Zero Tolerance

                   state regulation. However, they exceeded that power delegated by the state.

                K)In order for an organization to be seen as governmental, private companies

                    must be a state actor, meaning an organization that exercises "powers
 r

                   traditionally exclusive to the state", defined from the case Jackson v.

                   Metropolitan Edison Co. and the action must have been originally and solely ,
 ~}
                   performed by the government(Rendell-Baker v. Kohn, Evans v. Newton).
 ~ ~~
 ~~             L)In conclusion;
 t~
                      a)Defendant is a state actor because:

                            (1)Public Safety is a power traditionally exclusive to state
 l

 15                         (2)The state has delegated on TNC companies the power to enforce
     t"~s '
                                public safety rules (see Decision 13-09-045 September 19, 2013)
 ~~
                            (3)Therefore, Defendant became a state actor in regards to public

                                safety
,, ,
                            (4)As a state actor Defendant needs to observe due process
     t
r';'.                           established in the state regulation

     _'~
                            (5)In this case, Defendant deprived Plaintiff of his contract which is ;
:?~.
                                considered property without observing due process.

              16. The Decision 13-09-045 establishes a legal procedure for TNC companies.

              The Decision 13-09-045 September 19, 2013 establishes a legal procedure that
_4




                                          FEDERAL COMPLAINT
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 1
            Defendant did not respect. It is in the section called "Safety Requirements" and

            prescribes that

 ~~
                                                     "Promptly after azero-tolerance

r7                                                    complaint is filed, the TNC shall
,,
                                                      suspend the driver for further

                                                      investigation"
~~

 ~ ~~
1J
                        Safety Requirements
1 '~

l3                     "d) TNCs shall institute a zero tolerance intoxicating substance policy

1                       with respect to drivers as follows: 1. The TNC shall include on its

                        website, mobile application and riders' receipts, notice/information on
     ~~
t~                     the TNC's zero-tolerance 39 TNCs must make their certificate of

                       insurance public and the Commission will put this certificate on its
~ ~>
~,-,                   website. R.12-12-011 COM/MPl/ays - 27 -policy and the methods to

MI                     report a driver whom the rider reasonably suspects was under the
-~,
                       influence of drugs or alcohol during the course of the ride. 2. The
x;


                       website and mobile application must include a phone number or in-app

                       call function and email address to contact to report the zero-tolerance
    r,
                       complaint. 3.Promptly after azero-tolerance complaint is filed, the

                       TNC shall suspend the driver for,~urther investigation. 4. The


                                        FEDERAL COMPLAINT
                                                                                                 12
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                        website and mobile application must also include the phone number

                        and email address of the Commission's Passenger Section: 1-800-894-

 ~ ~                    9444 and CIU intake(a~cvuc.ca.gov."
 h

                        16.1. Further Investigation meaning;            Interpretation of the

                 phrase "Further Investigation. The U.S. Supreme Court stated :"We begin

                 with the familiar canon of statutory construction that the starting point for
 ~~
                 interpreting a statute is the language of the statute itself. Absent a clearly
 ~ t;
 11              expressed legislative intention to the contrary, that language must ordinarily
 3 ~`
                 be regarded as conclusive.:" Consumer Product Safety Commission et al. v.

 ~~              GTE Sylvania, Inc. et a1.,447 U.S. 102(1980). "[I]n interpreting a statute a

     ~           court should always turn to one cardinal canon before all others. ...[C]ourts
     ~3
                 must presume that a legislature says in a statute what it means and means in a
 17
     ~           statute what it says there." Connecticut Nat'l Bank v. Germain, 112 S. Ct.

~ ~' t           1146, 1149(1992). Indeed,"when the words of a statute are unambiguous,
Try
                 then, this first canon is also the last: 'judicial inquiry is complete."' 503 U.S.
~I
~~               249, 254.

     ~                  16.2. What is FURTHER?

                       Further is a comparative form of far. It is also a verb.
 7
_~ r~                   1. Adverb. Further means to a greater extent or degree.

          ~~           Inflation is below 5% and set to fall further.
"_,
'

                                         FEDERAL COMPLAINT
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              The rebellion is expected to further damage the country's image.

              2. Adverb. If you go or get further with something, or take something

       further, you make some progress.

              They lacked the scientific personnel to develop the technical apparatus

       much further.

             3. Adverb.If someone goes further in a discussion, they make a more

       extreme statement or deal with a point more thoroughly.To have a better

       comparison, we need to go further and address such issues as repairs and

       insurance.

             4. Adverb. Further means a greater distance than before or than

       something else.

             People are living further away from their jobs. He came to a halt at a

       crossroads fifty yards further on.

             5. Adverb. Further is used in expressions such as 'further back' and

      'further ahead' to refer to a point in time that is earlier or later than the time

       you are talking about.

             Looking still further ahead, by the end of the next century world

       population is expected to be about ten billion.

             6. Adjective. A further thing, number of things, or amount of something

       is an additional thing, number of things, or amount. Further evidence of



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                                                                                           14
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 ~ .

                 slowing economic growth is likely to emerge this week.

.                       7. Transitive verb. If you further something, you help it to progress, to
          ,
                 be successful, or to be achieved.Education needn't only be about furthering
5
                 your career.
 tj
                        COBUILD Advanced English Dictionary. HarperCollins Publishers

                        16.3. What is INVESTIGATION?
r~
                        A term that means to examine and to look at carefully, discover the
 1 ~3

 13              factor make a legal inquiry. TLD Example: Police conducted a thorough
 l?
                 investigation of the accusations of wrongdoing made against the council
 ~ _~
                 member, but they could not file charges because they were unable to find any

                 corroborating evidence.(Black's Law Dictionary)
1 t`
                        16.4. What is FURTHER INVESTIGATION?
t~
1                      Further Investigation obviously is a procedure that needs to be followed

     {a          reasonably after a reported incident to make a decision. The investigation is
     +~
                 done to apply the right sanction or discharge the reported person.

     ~,       M)Judicial Intervention. Defendant reached an agreement before Court in a

                 class action. The Court imposed continuous Jurisdiction over Defendant to
~=~
                 protect the interests of part of the public.
~;
     P~       N)When a private entity fulfills state functions supervised by the State (Court)
,~

                 then it becomes an "actor state" and when it becomes an actor state it must
~k

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                    comply with the Constitution in all its magnitude, including the 5th and 14th

         t~         amendments that define the due process.

               17. State action doctrine is a legal principle that the Fourteenth Amendment

              applies only to state and local governments, not to private entities. Under state

              action doctrine, private parties outside of government do not have to comply with

              procedural or substantive due process.

              18. However, there are two exceptions to this rule for: public functions

              and Entanglement. These exceptions hold that private corporations performing

              government functions, such as handling law enforcement, would be subject to the
 13
              Fourteenth Amendment.
    ~4

I~            19. Adding to the previous point, in some circumstances, a private entity can be a
1£
              state actor for constitutional purposes. Specifically,"`[t]he Supreme Court has
I '7'
              articulated four tests for determining whether a private party's actions amount to

              state action:(1)the public function test;(2)the joint action test;(3)the state
~~~
              compulsion test; and (4)the governmental nexus test."' Tsao v. Desert Palace, Inc.,

              698 F.3d 1128, 1140 (9th Cir. 2012)(alteration adopted)(quoting Franklin v. Fox,

?~
              312 F.3d 423,444--45
.~-~
              II. SECOND CAUSE OF ACTION :DEPRIVATION OF RIGHTS

  f           20.42 U.S. Code § 1983.Civi1 action for deprivation of rights. Every person

              who, under color of any statute, ordinance, regulation, custom, or usage, of any
s

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             State or Territory or the District of Columbia, subjects, or causes to be subjected,

           ` any citizen of the United States or other person within the jurisdiction thereof to the

`} ` ' deprivation of any rights, privileges, or immunities secured by the Constitution and

             laws, shall be liable to the party injured in an action at law, suit in equity, or other

             proper proceeding for redress, except that in any action brought against a judicial

             officer for an act or omission taken in such officer's judicial capacity, injunctive

             relief shall not be granted unless a declaratory decree was violated or declaratory
    t~ '
1            relief was unavailable. For the purposes of this section, any Act of Congress
1
             applicable exclusively to the District of Columbia shall be considered to be a
~3
             statute of the District of Columbia.
    =~

1           21. Defendant deprived Plaintiff of his contract which is considered property
1+
             without observing due process. This letter I received from defendant : "Thanks for

            taking the time writing in to us about your account, Jorge. We appreciate your

            eagerness to get back on the road. However, your account has been deactivated. No
~~
            deactivation decision is taken lightly or without investigation. As such, certain

~~          deactivation decisions, especially those related to zero-tolerance violations, are not
~~
            eligible for appeal."

           x III. THIRD CAUSE OF ACTION :UNFAIR BUSINESS PRACTICES
 ;
 ~

7t,         22. Defendant deactivated my account permanently on December, 2018 without
,-
            any investigation and in violation of my Constitutional rights to due process.
,~
r4




                                           FEDERAL COMPLAINT
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 i
           23. Defendant sent me a letter for permanent deactivation of my account:

                       "Thanks for taking the time writing in to us about your account, Jorge.

`~                     We appreciate your eagerness to get back on the road. However, your

                       account has been deactivated. No deactivation decision is taken lightly

                       or without investigation. As such, certain deactivation decisions,

                       especially those related to zero-tolerance violations, are not eligible for "'

                       appeal."
1 t~

     1                 "No process is 100 percent perfect and the range of issues that could

                       lead to deactivation varies. For a decision as important as permanent
13
                       deactivation, we want to make sure that drivers have a clear channel to

                       engage with Uber and, where appropriate, get back on the road
t
                       quickly."
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~~         24. In the letter they say that"No deactivation decision is taken lightly or without

~ ~~       investigation" which is totally false because they have rejected the submission of
~~
           my evidence alleging that I was not an employee and other nonsense.

~~         45. Then when I have appealed to their decision they responded in the letter (see

~~~        above) that "those related to zero-tolerance violations, are not eligible for appeal."

T~ ~ 25. I am affected for those unfair business practices described above used by
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>r~        Defendant to deactivate my account because their excuses are lies and false
`7 j
~'         accusations. And I believe this affects me and also many consumers who are



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            desperate for an income and they accept Defendant offer of "great income and
 'Y




 :
 ~          conditions" and sign contracts to work for Uber Technologies Inc.

            26.'This prong of California Business &Professions Code §17200 is clear and

            ultimately,"an `unfair' business practice occurs when that practice `offends an
 r
 i          established public policy or when the practice is immoral, unethical, oppressive,

            unscrupulous or substantially injurious to consumers."'(Davis v. Ford Motor Credit

            Co. LLC,(2009) 179 Ca1.App.4th 581, 595).
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 1~         PRAYER FOR RELIEF
 ~ ~:
            WHEREFORE,Plaintiffs pray for relief as follows:
 1 _~
            1.   For a declaration that Defendants' actions, policies, and practices as alleged
 I

 I~         herein are unlawful;
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            2.   For reinstatement;


 1          3.   For loss ofincome and all other compensation by reason of Defendants'

 1 '!       unlawful actions, in an amount to be proven at trial;
 ~` t~
            4.   For compensatory damages for Plaintiffs' emotional pain and suffering, in an
'I
     ~,     amount to be proven at trial;
 ~~
            5.   For punitive damages in an amount to be determined at trial;
 ~=~
            6.   For liquidated damages;

',r,        7.   For interest on loss income, compensation, and damages, including pre- and
 3 -'

            postjudgment interest and an upward adjustment for inflation;



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.    ~

                      8.      For an order enjoining Defendants from engaging in the unlawful acts

                      complained of herein;

    ~~                9.      For reasonable attorneys' fees and costs of suit pursuant to 42 U.S.C. §

                      2000e-5(k), and other laws; and

                      10. For such other and further relief as this Court deems just and proper.




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    ~~                                                                     Jorge Mendoza
                                                                           In pro Per
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    1~
                                                       DEMAND FOR JURY TRIAL
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    ~~                Plaintiffs demand a jury trial on all causes of action and claims to which they have a right to a

    1~                jury trial.

     `~ c '                                                                8/26/2019
        ~',



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    ~~                                                                    Jorge Mendoza
                                                                          In pro Per
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